                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


JOHN MATTHEW COOK, ELLYSMAR
GÓMEZ LUZARDO,
                                           Civil No.: 2014-01544 (CCC)
Plaintiffs,
                                  RE:     SECURITIES     FRAUD;
          v.                      SHAREHOLDERS     DIRECT   and
                                  DERIVATIVE ACTION FOR BREACH
F. GERARDO LARREA OLOZAGA, et al, OF FIDUCIARY DUTIES, CONFLICT
                                  OF INTEREST and ULTRA VIRES
Defendants.                       ACTS; DECLARATORY JUDGMENT;
                                  DAMAGES


CARIBBEAN GLAZE CORPORATION,
Interpleader Plaintiff,

v.

F. GERARDO LARREA OLOZAGA,
JUAN A. LARREA FRENCH, JOHN
MATTHEW COOK, ELLYSMAR GOMEZ                        RE: INTERPLEADER
LUZARDO, GLAZE ON INVESTMENT,                  (Federal Interpleader Statute, 28
INC., LUIS ARENAS, ALEJANDRO D.                         U.S.C. §1335)
CERDA, IVELISSE BORRERO DE
CORDOVÉS, ARTURO FERNÁNDEZ,                       DECLARATORY RELIEF
FELIPE FLORES ROLÓN, FRANCISCO              (Declaratory Judgment Act, 28 U.S.C.
GERARDO LARREA FRENCH, MARÍA                         §§2201-2202 and Rule 57)
LARREA      FRENCH,    GILBERTO
MARXUACH, JACOBO ORTIZ MURIAS,
ANICETO    SOLARES   RIVERO   Y                         INJUNCTION
FERNANDO L. TORO,                                     (28 U.S.C. § 2361)

Interpleaded-Defendants.




                                        ORDER


       On October 5, 2014, Plaintiff Caribbean Glaze Corporation filed a civil action of

interpleader pursuant to the Federal Interpleader Statute, 28 U.S.C. §1335 (Docket

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entry 30), and requested the Court to issue a preliminary injunction pursuant to 28

U.S.C. §2361. On October 17, 2014, Plaintiff filed Urgent Motion To Request Injunction

Order Pursuant to Federal Interpleader Statute, 28 U.S.C. §2361 (Docket    ). Plaintiff

CGC seeks injunctive relief because CGC and/or GOI capital stock and the

$848,000.00 declared but undistributed dividend are claimed and disputed by various

claimants in numerous judicial proceedings and urgently requested the Honorable Court

to issue an injunction order to state that:


       (a) Each defendant to be restrained from commencing or prosecuting any
       action in any State or United States Court against CGC related to title to
       CGC and/or GOI shares and capital stock and the $848,000.00 dividend.

       Plaintiff’s Motion is GRANTED and all parties are hereby restrained from

commencing or prosecuting any action in any State or United States Court

against Caribbean Glaze Corporation related to the title of CGC and or GOI shares

and capital stock or the $848,000.00 dividend.


                                                    S/Hon. Judge Carmen Cerezo




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